               IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

                      THIRD JUDICIAL DISTRICT AT ANCHORAGE


SANDRA ALCORN,                                        )
                                                      )
         Plaintiff,                                   )
                                                      )
     ~                                                )
                                                      )
LAW OFFICES OF KRISTA L. WHITE )
& ASSOCIATES, P.S. and         )
KRISTA L. WHITE,               )
                               )                             Case No. 3 AN-14-                 CI
    Defendants.                )
___________________________ )
                               . COMPLAINT FOR DAMAGES

              COMES NOW Sandra Alcorn, by and through counsel Alaska Legal Services

    Corporation, and as her complaint against the defendants alleges and requests relief as

    follows:

                                          INTRODUCTION

         1.      Defendants are debt collectors and run a debt collection lawsuit mi11. 1

    This is an action for damages and declaratory relief. Plaintiff claims that defendants

    violated Alaska's Unfair Trade Practices and Consumer Protection Act (UTPA) and

    the federal Fair Debt Collection Practices Act (FDCPA) by engaging in deceptive and

    illegal debt collection practices.



1
  See, e.g., Consumer Financial Protection Bureau, CFPB Files Suit Against Debt Collection Lawsuit Mill (July
14, 2104 ), available at http://www .consumerfmance.gov/newsroom/cfpb-files-suit-against-debt-collection-
lawsuit-mill/.

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                          JURISDICTION AND VENUE

      2.     This Court has jurisdiction over this action pursuant to AS 22.1 0.020.

      3.     Venue is proper in Anchorage under Civil Rule 3.

                                      PARTIES

      4.     Plaintiff Sandra Alcorn is a resident of the Third Judicial District.

      5.     Defendant Law Offices of Krista L. White & Associates, P.S., is a debt

 collector that debt collects in hundreds and hundreds of cases in Alaska. White &

 Associate's main office is in Washington. White & Associates regularly engages in

 debt collection and is a "debt collector" as that term is defmed under the FDCPA.

      6.     Defendant Krista L. White is an owner of a debt collection law firm. Ms.

 White regularly engages in debt collection and is a "debt collector" as that term is

 defmed under the FDCPA.

                     FACTS AND GENERAL ALLEGATIONS

      7.     Defendants allege that plaintiff owes money to Mat-Su Regional Medical

 Center ("Mat-Su Region~l").

      8.     Defendants act as debt collectors for Mat-Su Regional.

      9.     On October 1, 2014, defendants mailed Ms. Alcorn a letter (the "PFD

letter"). The top of the letter inquired "Permanent Fund Dividend?" in large, bold,

underlined font. The letter informed Ms. Alcorn that she "may be eligible" for a

reduction of her "current balance" and that she "may also be receiving a Permanent Fund

Dividend that may satisfy [her] account."



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       10.    The subject heading of the letter reads as follows:

                     SANDRA ALCORN

                     Case No.: 3PA-14-2347CI
                     Judgment balance: $1,435.81

       11.    The fact is: there is no judgment issued in 3PA-14-2347CI.           When

defendants sent the PFD letter, there had not even been a pretrial conference in 3PA-14-

2347CI.

       12.    Defendants knew or should have known of all of these facts when they

sent out the October 1, 2014 PFD letter. Plaintiff suspects that defendants sent out

hundreds of similar misleading letters to other Alaska consumers.

       13.    That is not the only falsehood with regard to defendants' October 1, 2014

PFD letter: the complaint in 3PA-14-2347CI alleges that Ms. Alcorn owes $1,334.28,

not $1,435 .81.

       14.    Alaska Civil Rule 26(f) requires that, unless ordered otherwise, parties to

litigation must p~eet at least fourteen days before a scheduling conference to "discuss

the nature and basis of their claims and defenses and the possibilities for a prompt

settlement or resolution of the case, including whether an alternative dispute resolution

procedure is appropriate, to make or arrange for the disclosures required by

subparagraph (a)(l), and to develop a proposed discovery plan and a proposed

alternative dispute resolution plan."




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       15.    The district court's October 14 Notice of Pretrial Scheduling Conference

states that "The meeting of parties required by Civil Rule 26(f) must be held at least 14

calendar days before" the December 8 scheduling conference.

       16.    On November 20, Ms. Alcorn called defendants' law office several times

and attempted to schedule a meeting. She was informed that the attorney litigating her

case no longer worked at the office and that another person would contact her to arrange

a meeting. Defendants' law office ·did not return her call.

       17.    On November 20, Ms. Alcorn called defendants' law office and left a

message proposing a meeting time and place on November 24. S.he waited at            he~


proposed location, but no one from defendants' office appeared or contacted her.

       18.    On November 21, defendants sent Ms. Alcorn a letter (the "Meeting

Letter"). The letter enclosed a pre-filled "Report of Parties' Planning Meeting" form.

Defendant informed Ms. Alcorn that if the Report was "acceptable" to her, she could

"please sign and return the Report of Parties Planning Meeting." In the Meeting letter,

defendant tells Ms. Alcorn that she may sign and return the pre-filled Report, instead of

actually meeting with defendant in accord with Civil Rule 26(f).

       19.    Plaintiff believes that defendants rarely if ever comply with Civil Rule

26(f) and meet with debtors. This would be too time-consuming for defendants given

the volume of cases they process as a debt collection lawsuit mill. Instead, to maintain

their high volume, defendants dispense with the meet and confer requirement of Civil

Rule 26(f) and, instead, send Alaska consumers a pre-filled Report ofParties' Planning

Meeting. This conduct subverts Alaska Rule 26(f).
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       20.     Ms. Alcorn was prose at the time that defendants sent her the PFD letter

and the Meeting letter.

                     COUNT 1: VIOLATION OF THE FDCPA
                               (15. U.S.C. § 1692e)

       21.     Plaintiff incorporates by reference the allegations in each of the preceding

 paragraphs.

       22.     The PFD letter characterizes plaintiffs alleged debt as_ a "judgment

 balance," but there is no judgment against her. The FDCPA prohibits a debt collector

 from using "any false, deceptive, or misleading representation or means in connection

 with the collection of any debt."       15 U.S.C. § 1692e. The FDCPA specifically

 prohibits the false representation of"the character, amount, or legal status of any debt."

  15 U.S.C. § 1692e(2)(A). The FDCPA also specifically prohibits "The use of any

 false representation or deceptive means to collect or attempt to collect any debt." 15

 U.S.C. § 1692e(10).

       23.     By calling plaintiffs alleged debt a ''judgment" for the alleged amount,

 defendants misrepresented the legal status of the debt and used this false representation

 to attempt to collect the debt. This violated 15 U.S.C. §§ 1692e, 1692e(2)(A), (10).

       24.     Plaintiff is entitled to damages and declaratory relief holding that

 defendants may not falsely represent that they have a judgment against an alleged

  debtor when they do not.




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                      COUNT II: VIOLATION OF THE FDCPA
                                (16. U.S.C. § 1692e)

      25.   · Plaintiff incorporates by reference the allegations in each of the preceding

 paragraphs.

      26.      The PFD letter misrepresented the amount of plaintiffs alleged debt.

      27.      The FDCPA specifically prohibits the false representation of "the

 character, amount, or legal status of any debt." 15 U.S.C. § 1692e(2)(A).

      28.      Plaintiff is entitled to damages and declaratory relief holding that

 defendant may not falsely represent the amount of debt owed by an alleged debtor.

                      COUNT III: VIOLATION OF THE FDCPA
                                 (17. U.S.C. § 1692e)

      29.      Plaintiff incorporates by reference the allegations in each of the preceding

 paragraphs.

      30.      In the Meeting letter, defendants represented to plaintiff that the parties

 could satisfy the Rule 26(f) Planning Meeting requirement by filing the pre-filled

 report, even though defendants had not discussed with the plaintiff the issues listed in

 Rule 26(f). By doing so, defendants deceptively and falsely represented that the Rule

 26(f) meeting was optional. This violated 15 U.S.C. §§ 1692e, 1692e(1 0).

      31.      Plaintiff is entitled to damages and declaratory relief holding that

 defendants may not misrepresent the nature of the Civil Rule 26(f) meeting

 requirement.




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                           COUNT IV: VIOLATION OF THE UTPA

           32.      Plaintiff incorporates by reference the allegations in each of the preceding

      paragraphs.

           33.      Defendant have violated AS§ 45.50.471(a) by making false and deceptive

      representations in an to attempt to collect plaintiffs alleged debt, in violation of 15

      U.S.C. §§ 1692e, 1692e(2)(A), (10).

           34.      Plaintiff is entitled to damages and declaratory relief holding that

      defendants may not falsely represent that they have a judgment against an alleged

      debtor when they do not and that defendants may not misrepresent the nature of th~

      Civil Rule 26( f) meeting requirement.

                                     PRAYER FOR RELIEF

              WHEREFORE, plaintiff prays the Court to award the following relief:

           ( 1)     Declaratory relief as prayed for above.

           (2)      A judgment awarding plaintiff three times her actual damages or $500,

     whichever is greater, under AS 45.50.53l(a);

           (3)      A judgment awarding plaintiff her actual damages and statutory damages

     under 15 U.S.C. § 1692k;

           (4)      An award to the plaintiff of her costs and expenses of litigation;

           (5)      An award to plaintiff of her full attorney's fees; and

           (6)      Any such other and further relief as this Court may deem just under the

      circumstances.



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DATED:     /zjl:z./!y                     ALASKA LEGAL SERVICES CORPORATION
                                          Attorneys for Plaintiffs




                                    ~No.                              1309053
                                          JAMES J. DAVIS, JR., AKBar No. 9412140
                                          634 S. Bailey St. Ste. 102
                                          Palmer, AK 99645




Certificate of Service
On Decemberll__, 2014, a true and correct copy
of the foregoing was served via /~tO.$ o? the following:
                                     mea-• I
Law Offices of Krista L. White & Assoc.
1417 4th Ave. Ste. 300
Seattle, WA 98101

Krista L. White
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     CASE DESCRIPTION- SUPERIOR COURT                                    Case Number: - - - - - - - - -
     Check the box that best describes the case. Mark .Q!!g box only. If the caption is "In the Matter of' •. do not
     select Civil - Superior Court case. Use either Superior Court Miscellaneous Petition or appropriate Domestic
     Relations case type. For district court cases, use form CIV-125D.     ·

       CIVIL- SUPERIOR COURT                                 FORCIBLE E NTRY AND DETAINER- SUPERIOR COURT

       CONTRACT- Contract cases involving ·real property
       should be reported under the real property
                                                             D    Eviction- F.E.D. (CISFED)
      ·category.                                             FOREIGN JUDGMENT- SUPERIOR COURT
       0 Debt Collection (CISDEB)
       0 · Claim Against Seller of Goods/Services            D    Registration of Foreign Judgment (CISFOJ)
           (CISCLAIM)                                             Do not use for foreign support/custody order.
       0 Employment Dispute·(CISEMP)                              See Domestic Relations category.
       0 · Other Contract (CISOCT)
       TORT                                                  POST-CONVICTION RELIEF To.SUPERIOR COURT
       0   Intentional Tort (e.g., assault; battery,
          vandalism) (CISIT}        ·                        D    Post--Conviction Relief (CISPCR)
       0 Slander/Libel/Defamation (CISSLD)                                     DOMESTIC RELATIONS
       0 Product LiabiHty (CISPL)
       0 ··Wrongful Death.(CISP-lD)                          . DIV0RCE WJTHO(JT CHILDREN
       Automobile N-egligence:
            0 Personal Injury Only (CJSPIA)                  D    Divorce Without Children (CISDIV)
            D Property Damage Only (CISPDA}                  DIVORCE OR CUSTODY WITH CHILDREN
            0 Both (CISIDA) ·
       Other· Negligence:                                    D.   Petition for Custody (CISCUS)
            0 Personal Injury Only (CISPIO)                  0    Divorce With Children (CISOVC)
             D  Property Damage Only {CISPDO)
          . 0 Both (CISIDO}                                  LEGAL SEPARATION
       MALPRACTICE
      0     Legal Malpractice (CISLMP)                       0    Legal Separation With Children (CICLS)
     ·0     Medical Malpractice (CISMMP)                     0    Legal Separation Without Children (CISLS)
     '0     Other Malpractice (CISOMP)
                                                             DOMESTIC RELATIONS OTHER
       REAL PROPERTY
·--·----0   Foreclosure ·(ClSFOR)                            -D   Ex.Parte Application for OSC.for.Failure to Comply
       0    Condemnation {CISCNPM) ·                              with Admin Order for Genetic Testing (CIOSCP)
       0    Real Property Action .(CI$REM)'                  0    Action to ModifY or Enforce Administrative Child
                                                                   Support Orde.r (CIPCS)
       OTHER CIVIL                                           D    Petition for Order re: PFD or Native Dividend
       0Arbitration Proceeding (CtSAP)                            (CIPND)                         .
       0Confession of Judgment {CISCCONF)                    D    Establishment of Paternity (CISPAT)
       0De.daratory Judgment/lnjunc. Relief (CISINJ)         0    Disestablishment of Paternity (CIDPAT)
       0OSC Request- Admin Agency (CIOSC)                    0    Foreign Custody Order (Registration, Modification
       0Action to Enforce Administrative Agency Order              or Enforcement) (DR4B3)
        (lncl Subpoena) (CIBW)                               0    Foreign Support Order (Registration, Modification
      0 Writ of Habeas Corpus (CIWHC)                              or Enforcement) (CIUIFSA)
      0 Election Contesfor Recount Appeal (CISELE)           D    Registration of Foreign Domestic Relations Order
      0 Enforcement of Arbitration Order or Subpoena              (Not Support or Custody) (CIDRFJ)
         AS 09.43.070 (CIARB)                                D    Petition for Annulment (CIANNUL)
      ~ Unfair Trade Practice (CISUTP)                       D    Petition for Visitation {CIVIS)
      0 Consumer Protection (CISCP) (Clerk: mail copy        D    Registration of Child Custody Determination
        of complaint/initial pleading to attorney general)         AS 25.30.430 (CIRCCD)
      0 Other Civil Complaint (CISOCI). Describe: _ _
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     CASE DESCRIPTION FORM- SUPERIOR COURT
SUPERIOR COURT MISCELLANEOUS PETITION

0             Entry & Inspection Warrant- AS18.60.083
              (CISWRNT)
0             Appointment of Trustee Counsel (CJSTC)
0             Other Superior Court Petition (CISPET)
              Describe:


                        APPEAL & REVIEW MATTERS
                         IN THE SUPERIOR COURT

ADMINISTRATIVE AGENCY APPEAL

0             DMVAppeal (CIADDMV) .
0             Administrative Agency Appeal (CIADR)
0             Employment Security Appeal (CIADRESA)

APPEAL FROM DISTRICT COURT
0  Civil or Small Claims Appeal (CIACI)
0  Criminal Merit Appeal (CIACRM)
0  Criminal Sentence Appeal (CIACRS)
0  Minor Offense Appeal (CIAMO)

PETITION FOR REVIEW OR RELIEF

O, Petition for Review from Admin. Agency (CIPRA)
0             Petitiontor Review from District Court (CIPRD}
0             Petition for Review from Admin. Agency-
                  AS 44.62.305 (CIPRLF)
0             CSSD License Review Action (CICSED)


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